                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
 ------------------------------------------------------------------ X   DOC #: _________________
 DEUTSCHE BANK NATIONAL TRUST CO.,                                  :   DATE FILED: December 19, 2017
 solely in its capacity as Trustee for the                          :
 MORGAN STANLEY STRUCTURED TRUST I                                  :
 2007-1,                                                            :
                                                                    :
                                              Plaintiff,            :         14-cv-3020 (KBF)
                                                                    :
                            -v-                                     :              ORDER
                                                                    :
 MORGAN STANLEY MORTGAGE CAPITAL :
 HOLDINGS LLC, as Successor-by-Merger to                            :
 MORGAN STANLEY MORTGAGE CAPITAL :
 INC.,                                                              :
                                                                    :
                                              Defendant.            :
 ------------------------------------------------------------------ X
KATHERINE B. FORREST, District Judge:

        Plaintiff Deutsche Bank National Trust Co. (“Deutsche Bank” or “plaintiff”)

commenced this action against Morgan Stanley Mortgage Capital Holdings LLC

(“Morgan Stanley” or “defendant”) on April 28, 2014, bringing a total of four claims

relating to the Morgan Stanley Structured Trust I 2007-1 (“MSST 2007-1” or the

“Trust”). (See generally Compl., ECF No. 2.) The complaint alleges, in sum, that

Morgan Stanley breached its contractual obligations by: (1) transferring into the

Trust a large number of loans that breached its representations and warranties

(“R&Ws”) (Id. ¶¶ 70-83); (2) failing to cure or repurchase such breaching loans as

required (Id. ¶¶ 84-94); and (3) failing to provide the Trustee with prompt written

notice of such breaches (Id. ¶¶ 96-106).1


1The complaint further alleges that Morgan Stanley’s conduct amounts to a breach of the implied
covenant of good faith and fair dealing. (Id. ¶¶ 107-111.) Judge Swain dismissed that count on April
3, 2015, reasoning that “New York law . . . does not recognize a separate cause of action for breach of
       On April 3, 2015, Judge Laura Taylor Swain issued a Memorandum Opinion

& Order dismissing, inter alia, Counts Two and Three of the complaint (alleging

failure to cure/repurchase and failure to provide written notice of breaches,

respectively), reasoning that “the notice/cure/repurchase protocol is remedial and

cannot constitute a basis for an independent breach.” (ECF No. 47 at 13, 15

(internal citations omitted).)2 Judge Swain’s opinion relied on a series of cases

holding that “New York Law . . . does not recognize pre-suit remedial provisions as

constituting separate promises which can serve as the basis for independent causes

of action.” See, e.g., Lehman XS Trust, Series 2006-4N v. GreenPoint Mortg.

Funding Inc., 991 F. Supp. 2d 472, 478 (S.D.N.Y. 2014) (internal citation omitted).

       Subsequent to Judge Swain’s ruling on the motion to dismiss, the First

Department issued an opinion in Nomura Home Equity Loan, Inc. v. Nomura

Credit & Capital, Inc., 133 A.D.3d 96 (N.Y. App. Div. 2015) that addressed

substantially similar language in an RMBS contract. In that case, the First

Department held that a motions court had “erred in not allowing plaintiffs to

pursue damages for defendant’s failure to give prompt written notice after it

discovered material breaches of the representations and warranties in section 8 of

the MLPA.” Id., 133 A.D.3d at 108.3 In Morgan Stanley Mortg. Loan Tr. 2006-



the implied covenant of good faith and fair dealing when a breach of contract claim, based upon the
same facts, is also pled.” (ECF No. 47 at 15.)
2 Judge Swain also dismissed Count Four (alleging breach of the implied covenant of good faith and

fair dealing), reasoning that “New York law . . . does not recognize a separate cause of action for
breach of the implied covenant of good faith and fair dealing when a breach of contract claim, based
upon the same facts, is also pled.” (ECF No. 47 at 15.)
3
  On December 12, 2017, the New York Court of Appeals issued an opinion regarding a separate
question raised in Nomura, and affirmed the opinion as modified. See Nomura Home Equity Loan,
                                                  2
13ARX v. Morgan Stanley Mortg. Capital Holdings LLC, 143 A.D.3d 1, 7 (N.Y. App.

Div. 2016), the First Department relied on its decision in Nomura in holding that “a

seller’s failure to provide the trustee with notice of material breaches it discovers in

the underlying loans states an independently breached contractual obligation,

allowing a plaintiff to pursue separate damages.” See also Bank of New York

Mellon v. WMC Mortg., LLC, 151 A.D.3d 72, 81 (N.Y. App. Div. 2017) (holding, in

accordance with Morgan Stanley and Nomura, that “the contractual obligation to

notify was independent of the warranty obligations and that claims for failure to

notify were not claims ‘respecting a warranty breach’ subject to the ‘sole remedy’

clause.”); Law Debenture Tr. Co. of New York v. WMC Mortg., LLC, 2017 WL

3401254, at *19 (D. Conn. Aug. 8, 2017) (noting that “recent . . . decisions in the

New York Appellate Division [have held] that a loan originator may be liable for

failing to notify an RMBS trustee of mortgage breaches the originator knew or

should have known about,” and that such causes of action are “viable in law, and

beyond the reach of the ‘sole remedy’ provision” in the underlying contracts).

       As a result, the Court solicits the parties’ views as to whether certain legal

developments may/may not have rendered Judge Swain’s decision to dismiss Count

Three of the complaint (alleging failure to notify) incorrect. The Court would

benefit from expedited briefing on the issues raised herein. The may, if they choose,

submit letter briefs of not more than 10 pages on these issues not later than



Inc., Series 2006-FM2, by HSBC Bank USA, Nat'l Ass'n v. Nomura Credit & Capital, Inc., 2017 WL
6327110 (N.Y. Dec. 12, 2017).

                                               3
Monday, January 8, 2018. The parties should include in their letters a discussion

of how the re-insertion of Count Three into this case would impact their respective

summary judgment arguments and whether additional briefing is required.

      SO ORDERED.

Dated:       New York, New York
             December 19, 2017

                                          ____________________________________
                                                KATHERINE B. FORREST
                                                United States District Judge




                                         4
